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FH.E¢’.`J 3`:“ . . _A“_ D.C.

IN THE UNITED STATES DISTRICT COURT Q§H§Y¥B QH 6:§?
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,
Plaintiff,

Cv. No. 03~2753-D/V
Cr. No. 99-20272-D

`V'S.
STEPHEN MITCHELL,

Defendant.

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ORDER DENYING MOTION TO ALTER OR AMEND
AND
ORDER REITERATING DENIAL OF CERTIFICATE OF APPEALABILITY
AND CERTIFICATION THAT APPEAL IS NOT TAKEN IN GOOD FAITH

 

Defendant Stephen Mitchell, Bureau of Prisons registration
number 17112~076, who is presently confined at the Federal
Correctional Institution (FCI) in Memphis, filed a prp se motion
under 28 U.S.C. § 2255, seeking to set aside his conviction for
violating 18 U.S.C. § 922(g). On March 28, 2005, the Court denied
the motion, denied a certificate of appealability, and certified,
pursuant to Fedi R. App. P. 24(a), that an appeal would not be
taken in good faith.1 On April ll, 2005, defendant filed a “motion
for reconsideration” which the Court construes as a motion to alter

or amend the judgment pursuant to Fed. R. Civ. P. 59(e).

 

l The Clerk inadvertently neglected to enter a judgment. That omission

should be rectified forthwith.

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th sum 53 and/or 79{3) FRCP on 5' I 8 ~0 l [O

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A party should be afforded relief from a judgment pursuant to
Fed. R. Civ. P. 59(e) under only limited circumstances:

[R]econsideration of a judgment after its entry is an
extraordinary remedy which should be used sparingly.
There are four basic grounds upon which a Rule 59(e)
motion_may be grantedd First, the movant may demonstrate
that the motion is necessary to correct manifest errors
of law or fact upon which the judgment is based. Second,
the motion may be granted so that the moving party may
present newly discovered or previously unavailable
evidence. Third, the motion will be granted if necessary
to prevent manifest injustice. . .. Fourth, a Rule 59(e)
motion. may' be justified_ by' an intervening change in
controlling law.

The Rule 59(e) motion may not be used to relitigate old
matters, or present evidence that could have been raised
prior to the entry of judgment. Also, amendment of the
judgment will be denied if it would serve no useful
purpose.
ll Charles Alan Wright et al., Federal Practice and Procedure §
2810.1 (2d ed. 1995) (footnotes omitted); see Nagalingan1v. Wilson,
Sowardsl Bowling & Costanzo, No. 00~5453, 2001 WL 493392, at *2
(6th Cir. May l, 2001). The issues raised by Mitchell do not fit
within this framework. Mitchell merely restates and amplifies
points made in his original motion. This Court‘s previous order of
dismissal addressed these issues at length. The motion for
reconsideration presents no grounds for relief and is DENIED.

The Court reiterates, for the reasons expressed in this order

and the previous order of dismissal, a certificate of appealability

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is denied and as any appeal is not taken in good faith, defendant

may not proceed on appeal in forma pauperis.2

IT 15 so oaDERED this 1'7 day of May, 2005.

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§ ICE s`.f"f)oNAiD
ITED sTATEs DISTRICT JUDGE

 

 

2 The fee for docketing an appeal is $250. §ee Judicial Conference

Schedule of Fees, I l, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917,
a district court also charges a $5 fee:

Upon. the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

 

DlSTRlT CoURT WESTERN llSRCT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:03-CV-02753 Was distributed by faX, mail, or direct printing on
May 18, 2005 to the parties listed.

 

Stephen Murray Mitchell
FCI- Memphis

1 7 1 12-076

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Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

